          Case 1:16-cv-00169-CWD Document 1 Filed 04/22/16 Page 1 of 4




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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO

AMANDA J. WHITE,                                     Case No. 16-CV-169

                                                     COMPLAINT
                     Plaintiff,
       vs.

ADVANCED CALL CENTER
TECHNOLOGIES, LLC
               Defendant.


                                                     DEMAND FOR JURY TRIAL


       COMES NOW, Plaintiff Amanda White, by and through her counsel of record, Barkley

B. Smith of Barkley Smith Law, PLLC and Ryan A. Ballard of Ballard Law, PLLC, and allege

her causes of action against Defendant as follows:
            Case 1:16-cv-00169-CWD Document 1 Filed 04/22/16 Page 2 of 4



                                           INTRODUCTION
       1.         This is an action for damages brought by an individual consumer for violations of

the Fair Debt Collections Practices Act, 15 USC § 1692 et. Seq. (“FDCPA”), which prohibits

debt collectors from engaging in abusive, deceptive, and unfair practices.

       2.         Plaintiff demands a jury trial on all issues so triable.

                                        JURISDICTION AND VENUE

       3.         This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 USC § 1692k (d)

because the illicit collection activity was directed at Plaintiff in Canyon County, Idaho.

       4.         Venue is proper in this district under 28 U.S.C. § 1391(b).

                                                    PARTIES

       5.         Plaintiff is a natural person currently residing in Canyon County, Idaho.

       6.         Plaintiff is a "consumer" within the meaning of the FDCPA, 15 U.S.C. §

1692a(3).

       7.         The debt Ms. White owes arises out of a personal, family, or household

transaction(s).

       8.         Specifically, Ms. White believes the debt is the result of a credit card bill from

Synchrony Bank.

       9.         Advanced Call Center Technologies, LLC is a Georgia corporation in the business

of collecting debts, with its corporate address as 1235 Westlakes Dr., STE 160, Berwyn, PA

19312. Plaintiff's registered agent in Idaho is C.T. Corporations System with an Idaho address

listed as 921 S. Orchard St. STE G, Boise, ID 83705.

       10.        Defendant is engages in the collection of debts from consumers using the mail

and telephone. Defendant is a "debt collector" as defined by FDCPA, 15 U.S.C. § 1692a(6).

                                         GENERAL ALLEGATIONS
            Case 1:16-cv-00169-CWD Document 1 Filed 04/22/16 Page 3 of 4



       11.     Defendant's collection activity of which Plaintiff complains occurred within the

               previous twelve (12) months.

       12.     Defendant's collection activity consisted of telephone calls to Plaintiff's cell

               phone.

       13.     On October 26, 2015 Advanced Call Center Technologies, LLC placed a phone

call to Ms. White at 7:05 a.m..

       14.     On October 28, 2015 Advanced Call Center Technologies, LLC placed a phone

call to Ms. White at 7:10 a.m..

       15.     On October 30, 2015 Advanced Call center Technologies, LLC placed a phone

call to Ms. White at 7:47 a.m..

                          COUNT I: VIOLATION OF THE FDCPA

       16.     Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       17.     Advanced Call Center Technologies, LLC placed several phone calls to Ms.

White before 8:00 a.m..

       18.     Defendant's conduct is in direct violation of 15 U.S.C. § 1692c(a)(1) which states

without prior consent, a debt collector may not communicate with a consumer in the connection

with the collection of any debt at a time which should be known to be inconvenient to the

consumer. 15 U.S.C. § 1692c(a)(1) further states "a debt collector shall assume that the

convenient time for communicating with a consumer is after 8 o'clock antemeridian and before 9

o'clock postmeridian, local time at the consumer's location".

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant as follows:

       A.      Judgment that Defendant's conduct violated the FDCPA;
     Case 1:16-cv-00169-CWD Document 1 Filed 04/22/16 Page 4 of 4



B.      Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

C.      Statutory damages of $1,000.00 pusuant to 15 U.S.C. 1692k(a)(2)(A);

D.      Reasonable attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3);

E.      Release of the alleged debt.

                              Respectfully submitted by,


                                             /s/_Barkley B. Smith__________________
                                             BARKLEY B. SMITH
                                             Barkley Smith Law, PLLC
